                                                                                                   FILED
Case 2:21-cr-00442-FMO Document 59 Filed 09/21/21 Page 1 of 1 PageCLERK,
                                                                   ID #:380
                                                                         U.S. DISTRICT COURT


                                                                   09/21/2021

                                                                                       CENTRAL DISTRICT OF CALIFORNIA

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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                                    CASE NUMBER

 UNITED STATES OF AMERICA,                          CR 2:21-cr-00442-FMO
                               PLAINTIFF
                        v.
                                                              NOTICE TO COURT OF
 Seyed Ziaeddin Taheri Zangakani, et al.,                       RELATED CASE
                               DEFENDANT(S)
                                                    (PURSUANT TO GENERAL ORDER 14-03)


       Plaintiff United States of America hereby informs the Court that the above-entitled

criminal case may be related to:

        United States v. Seyed Ziaeddin Taheri Zangakani, et al., CV 21-2438-PA, which:

          X       was previously assigned to the Honorable Percy Anderson;

                  has not been previously assigned.

The above-entitled cases may be related for the following reasons:

         X        the cases arise out of the same conspiracy, common scheme, transaction,
                  series of transactions or events;

          X       the cases involve one or more defendants in common and would entail
                  substantial duplication of labor in pretrial, trial or sentencing proceedings if
                  heard by different judges.

       Additional explanation (if any):

 Dated: September 21, 2021
                                                      WILLIAM M. ROLLINS
                                                      Assistant United States Attorney
